                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

UNITED STATES OF AMERICA ex rel.          )
LIEBMAN, et al.,                          )                  Case No.: 3:17-cv-00902
                                          )
                    Plaintiff-Relators,   )                  JUDGE CAMPBELL
                                          )                  MAGISTRATE JUDGE HOLMES
            v.                            )
                                          )
METHODIST LE BONHEUR HEALTHCARE,          )
et al.,                                   )
                                          )
        Defendants.                       )
__________________________________________)

                         UNITED STATES’ OPPOSITION
                  TO RANDAL PAGE, JR.’S MOTION TO INTERVENE

       The United States submits this response opposing Randal Page, Jr.’s motion to intervene.

See ECF No. 339. For the reasons stated in Methodist’s responses in opposition to Mary Page’s

and Mr. Page’s motions to intervene, ECF Nos. 295 and 385, Mr. Page likewise has not provided

any legitimate basis to intervene in this matter. Specifically, there are at least four reasons why

his motion should be denied.

       First, Mr. Page does not cite any legal precedent for why he should be permitted to

intervene and obtain a share of any “bounty.” ECF No. 339 at 4. Instead, he only cites Federal

Rule of Civil Procedure 24(a)(2) and (b)(1)(B), neither of which permit his intervention here either

as of right or permissively. Both Rule 24(a) and (b) are subject to Rule 24(c), which provides that

a motion to intervene must be “accompanied by a pleading that sets out the claim … for which

intervention is sought.” Fed. R. Civ. P. 24(c). Mr. Page has not provided any such pleading, so

he has not satisfied Rule 24’s requirements. Moreover, even if he had attached a complaint, he

has still failed to meet the requirements of either Rule 24(a)(2) or (b)(1)(B), because he has not




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shown that he has “an interest relating to the … transaction that is the subject of the action,” id.

24(a)(1), or that he “has a claim … that shares with the main action a common question of law or

fact.” Id. 24(b)(1)(B).

       Second, Mr. Page has also not complied with the False Claims Act (“FCA”) requirements

here. Namely, the FCA provides that private persons “may bring a civil action for a violation of

section 3729” and serve on the United States a sealed “copy of the complaint and written

disclosure.” 31 U.S.C. § 3730(b). Here, Mr. Page has not complied with any of these steps, and

the FCA does not provide a separate basis for a private person to simply “intervene” in a pending

qui tam brought by another relator.

       Third, Mr. Page is appearing pro se, and the law is clear that a relator cannot be pro se.

See United States v. 900 Monroe, 106 Fed. Appx. 466, at *1 (6th Cir. 2004) (dismissing qui tam

where relator did not have counsel); United States ex rel. Hire v. Nicely, 2009 U.S. Dist. LEXIS

59845, at *1 (July 13, 2009) (“as a pro se litigant, the Relator cannot maintain this qui tam under

the FCA”).

       Fourth, Mr. Page’s motion is untimely, coming months after the close of both fact and

expert discovery and approximately six months before trial. As such, it is far too late to permit

him to intervene in this action.

       Accordingly, the Court should summarily deny Mr. Page’s motion to intervene.

                                              Respectfully submitted,

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                                              Middle District of Tennessee

                                      By:     s/ Wynn M. Shuford
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                               CERTIFICATE OF SERVICE

       I hereby certify that on May 31, 2023, a true and correct copy of the foregoing was served
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